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 6
                            UNITED STATES DISTRICT COURT
 7                         WESTERN DISTRICT OF WASHINGTON
                                     AT TACOMA
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     MELISSA BELGAU, DONNA BYBEE,
 9   MICHAEL STONE, RICHARD OSTRANDER,                Case No. 3:18-cv-5620
     MIRIAM TORRES, KATHERINE NEWMAN,
10   GARY HONC, individuals,                          VERIFIED COMPLAINT FOR
                                                      INJUNCTIVE RELIEF,
11                       Plaintiffs,                  DECLARATORY JUDGMENT, AND
                                                      DAMAGES – CLASS ACTION
12    v.

13   JAY INSLEE, in His Official Capacity as
     Governor of the State of Washington; DAVID
14   SCHUMACHER, in His Official Capacity as
     Director of the Washington Office of Financial
15   Management; JOHN WEISMAN, in His Official
     Capacity as Director of the Washington
16   Department of Health; CHERYL STRANGE, in
     Her Official Capacity as Director of the
17   Washington Department of Social and Health
     Services; ROGER MILLAR, in His Official
18   Capacity as Director of the Washington
     Department of Transportation; JOEL SACKS, in
19   His Official Capacity as Dir. of Washington
     Department of Labor and Industries;
20   WASHINGTON FEDERATION OF STATE
     EMPLOYEES (AFSCME, COUNCIL 28), a labor
21   corporation,

22                       Defendants.

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     COMPLAINT                                                                P.O. Box 552, Olympia, WA 98507
     NO.                                                                      P: 360.956.3482 | F: 360.352.1874
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1                                                  INTRODUCTION

2               1.          This class action case concerns whether union dues/fees deductions from State

3        employees’ wages since Janus v. AFSCME, Council 31, 138 S. Ct. 2448 ( 2018) are legal if the

4        State employees have not clearly and affirmatively consented to the deductions by waiving their

5        constitutional right to not fund union political advocacy (“union advocacy”).

6               2.          Plaintiffs Melissa Belgau, Michael Stone, Richard Ostrander, Miriam Torres,

7        Katherine Newman, Donna Bybee, Gary Honc, and class members are Washington State

8        employees from whose wages the State continues to deduct union dues/fees after the U.S.

9        Supreme Court issued Janus v. AFSCME, Council 31, on June 27, 2018, despite the fact that

10       Plaintiffs have not clearly and affirmatively consented to the deductions by waiving the

11       constitutional right to not fund union advocacy. The State remits those deductions to the

12       Washington Federation of State Employees (“WFSE”).

13              3.          The State of Washington and WFSE (“Defendants”) claim the continued

14       deductions are proper. They do so based on Plaintiffs’ and class members’ signatures on dues

15       deduction agreements which allegedly authorize and bind Plaintiffs to continued deductions for

16       a set period of time despite the fact that Plaintiffs’ and class members’ signed those agreements

17       at a time when the relevant collective bargaining agreement included a compulsory agency fee

18       provision, and the right to not fund union advocacy was not recognized by the U.S. Supreme

19       Court in Janus v. AFSCME, Council 31, on June 27, 2019.

20              4.          RCW 41.80.100 and Amended 2017-2019 CBA Art. 40.2, 40.3, and 40.6 1 authorize

21       and compel the State to deduct union dues/fees (“dues”) from Plaintiffs’ and class members’

22       wages and forward them to WFSE despite the fact that Plaintiffs have not clearly and

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       Available at https://ofm.wa.gov/sites/default/files/public/legacy/labor/agreements/17-19/wfse_gg.pdf (last visited
24   July 30, 2018).

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1    affirmatively consented to the deductions by waiving the constitutional right to not fund union

2    advocacy. The statute and CBA provisions and Defendants’ actions taken pursuant to them,

3    therefore, impermissibly infringe on Plaintiffs’ and class members’ First Amendment rights of

4    free speech and free association.

5           5.          This is a civil rights class action pursuant to 42 U.S.C. § 1983, seeking declaratory

6    judgment, injunctive relief, as well as nominal, compensatory, and punitive damages and

7    restitution of union dues illegally seized from Plaintiffs and the class members they seek to

8    represent. Defendants are state actors acting under the color of state law—specifically RCW

9    41.80.100 and the Amended 2017-2019 CBA Art. 40.2, 40.3, and 40.6.

10                                     II. JURISDICTION AND VENUE

11          6.          This Court has jurisdiction over this case pursuant to 28 U.S.C. § 1331, because it

12   arises under the First and Fourteenth Amendments to the U.S. Constitution and 42 U.S.C § 1983.

13   This Court has authority under 28 U.S.C. §§ 2201 and 2202 to grant declaratory relief and other

14   relief, including preliminary and permanent injunctive relief, pursuant to Rule 65 of the Federal

15   Rules of Civil Pocedure.

16          7.          Under 28 U.S.C. § 1367 this Court has supplemental jurisdiction over claims stated

17   in this Complaint that do not arise under federal law but are so related to the federal claims as to

18   form part of the same case or controversy.

19          8.          Venue is proper in this Court pursuant to 28 U.S.C. § 1391 and intra-district

20   assignment to the Tacoma Division is proper because the claims arise in this judicial district and

21   division and Defendants do business and operate in this judicial district and division.

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1                                                 III. PARTIES

2           9.          Plaintiff Melissa Belgau works for the State of Washington in the Department of

3    Health as a Washington Emergency Medical Services Information System Administrator.

4    Michael Stone works for the State of Washington in the Department of Social and Health

5    Services as a Support Enforcement Officer. Richard Ostrander works for the State of

6    Washington in the Department of Transportation as a Maintenance Technician. Miriam Torres

7    is a Workfirst Program Specialist at the Washington State Department of Social and Health

8    Services. Katherine Newman works for the State of Washington at the Health Care Authority as

9    an Information Technology Specialist. Donna Bybee works for the State of Washington in the

10   Department of Health as a Trauma Registry Administrator. Gary Honc works for the Washington

11   Department of Labor and Industries as an Insurance Underwriter. Plaintiffs Belgau, Stone,

12   Ostrander, Torres, Newman, Bybee, and Honc signed dues deduction agreements before June 27,

13   2018. Named Plaintiffs and class members are Washington State employees whose exclusive

14   representative is WFSE. The state of Washington has deducted union dues from Plaintiffs and

15   class members since Janus v. AFSCME, Council 31 issued on June 27, 2018 despite the fact that

16   Plaintiffs and class members have not clearly and affirmatively consented to the deductions by

17   waiving the constitutional right to not fund union advocacy.

18          10.         Defendant Jay Inslee is Governor of Washington and is sued in his official capacity.

19   As Governor, Defendant Inslee is Washington’s chief executive officer and represents the State

20   in collective bargaining with WFSE. See RCW 41.80.101(1).

21          11.         Defendant David Schumacher is Director of the Washington State Office of

22   Financial Management (“OFM”), the agency designated by the governor to collectively bargain

23   with WFSE, and is sued in his official capacity. Defendant David Schumacher by and through

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1    OFM is charged with the responsibility of overseeing OFM, which is responsible for

2    administering Plaintiffs’and class members’ wages, as well as deducting from those wages union

3    dues/fees and remitting them to WFSE pursuant to RCW 41.80.100 and Amended 2017-2019

4    CBA Art. 40.2, 40.3, and 40.6.

5           12.         Defendant John Weisman is the Director of the Washington State Department of

6    Health and is sued in his official capacity.

7           13.         Defendant Cheryl Strange is the Director of the Washington State Department of

8    Social and Health Services and is sued in her official capacity.

9           14.         Roger Millar is Director of the Washington State Department of Transportation and

10   is sued in his official capacity. Joel Sacks is Director of the Washington State Department of

11   Labor and Industries and is sued in his official capacity.

12          15.         Defendant Washington Federation of State Employees, American Federation of

13   State, County, Municipal, Employees, Council 28 (“WFSE”) is a labor union that represents over

14   35,000 public employees in Washington, and is headquartered at 1212 Jefferson Street, Suite 300,

15   Olympia, WA 98501. WFSE is the State-recognized exclusive representative of Plaintiffs and

16   class members. WFSE represents Plaintiffs and other Washington State employees throughout 36

17   State agencies, and the CBA applicable to Plaintiffs also applies to those Washington State

18   employees and agencies.

19                                       IV. STATEMENT OF FACTS

20          16.         Plaintiffs and class members are Washington State employees exclusively

21   represented by WFSE and are subject to a single collective bargaining agreement applicable to

22   Washington State employees in bargaining units represented by WFSE. WFSE represents

23   Washington State employees in bargaining units in 36 different Washington State agencies.

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1           17.         At all times during their employment prior to July 6, 2018, Defendants subjected

2    Plaintiffs and class members to CBA provisions which required the deduction of union dues or

3    dues equivalent fees from their wages as a condition of employment. See Pre-amended 2017-19

4    CBA art. 40.

5           18.         Employees who objected to union membership and the payment of any union

6    dues/fees were still required to pay a “representation fee equal to the pro rata share of the full

7    membership fee that is related to collective bargaining…”, i.e., an agency fee the amount of which

8    WFSE determined. Pre-amended 2017-19 CBA art. 40.3(C).

9           19.         RCW 41.80.100 required Plaintiffs and class members to pay at least an agency fee

10   to WFSE as a condition of employment. Before June 27, 2018, absent at least this minimum

11   payment, Plaintiffs’ and class members’ employment would be terminated. Pre-amended CBA

12   art. 40.3(D), 40.5. According to WFSE’s 2017 accounting, the agency fee assessed to objecting

13   nonunion employees was 77.8% of full union dues.

14          20.         On June 27, 2018, the U.S. Supreme Court in Janus v. AFSCME, Council 31, held

15   that “[n]either an agency fee nor any other payment to the union may be deducted from a

16   nonmember’s wages, nor may any other attempt be made to collect such a payment, unless the

17   employee affirmatively consents to pay.” 138 S. Ct. at 2486. The Supreme Court also held that

18   agreeing to make any payments to a union constitutes a waiver of a constitutional right and that

19   “such a waiver cannot be presumed” and “must be freely given and shown by clear and convincing

20   evidence.” Id.

21          21.         On July 6, 2018, the State and WFSE executed an Amended CBA with a

22   Memorandum of Understanding (“MOU”) which removed the CBA’s compulsory agency fee

23   provision but still required the continued deduction of full union dues from the wages of Plaintiffs

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1        and class members.

2               22.         Since June 27, 2018, Plaintiffs have communicated in writing to the State and

3        WFSE that they object to union membership and the payment of any union dues/fees.

4               23.         Despite the Supreme Court’s ruling in Janus v. AFSCME, Council 31 and Plaintiffs’

5        objections, the State continues to deduct union dues/fees from Plaintiffs’ wages and remit them

6        to WFSE pursuant to RCW 41.80.100 and the MOU.

7               24.         WFSE has informed Plaintiffs that it has instructed the State to continue deducting

8        union dues/fees from Plaintiffs’ wages.

9               25.         Plaintiffs’ State employers have indicated to Plaintiffs that it will continue to deduct

10       union dues/fees from Plaintiffs’ wages pursuant to WFSE’s wishes and, in fact, have continued

11       to do so.

12              26.         Moreover, it is the official opinion of the Washington Attorney General that

13       Plaintiffs’ dues deduction agreements are not impacted by Janus v. AFSCME, Council 31, because

14       he alleges Plaintiffs dues deduction agreements, signed before Janus, are “agreements between a

15       union and its members to pay union dues.” The Washington Attorney General states,

16              The Janus decision does not impact any agreements between a union and its
                members to pay union dues, and existing membership cards or other agreements by
17              union members to pay dues should continue to be honored. The opinion only
                impacts the payment of an agency service fee by individuals who decline union
18              membership. 2

19              27.         Plaintiffs’ Washington State employers take the same position as the Washington

20       Attorney General, as do all of Washington’s State employers (Washington State agencies).

21              28.         Defendants contend the continued dues/fee deductions are lawful because of dues

22       deduction agreements signed by Plaintiffs before June 27, 2018 which purport to authorize union

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        Available at https://www.atg.wa.gov/news/news-releases/attorney-general-ferguson-issues-advisory-affirming-
24   labor-rights-and-obligations (last visited August 1, 2018).

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1    dues deductions from Plaintiffs’ wages. The agreement stated, “Effective immediately, I hereby

2    voluntarily authorize and direct my Employer to deduct from my pay each pay period, the amount

3    of dues as set in accordance with the WFSE Constitution and By-Laws and authorize my

4    Employer to remit such amounts semi-monthly to the Union (currently 1.5% of my salary per pay

5    period not to exceed the maximum).”

6           29.         The dues deduction cards purport to authorize the State to deduct union dues from

7    Plaintiffs’ wages and remit them to WFSE. The cards state that authorization for the deductions

8    will automatically renew annually unless the employee revokes the authorization between 10 and

9    20 days prior to the anniversary of the day Plaintiffs’ signed the authorization. WFSE claims each

10   plaintiff signed an identical card.

11          30.         WFSE will require Plaintiffs to continue paying union dues/fees until Plaintiffs

12   object again within the aforementioned limited ten day period. In the meantime, WFSE is

13   preventing Plaintiffs from cancelling union membership and the deduction of union dues/fees

14   from Plaintiffs’ wages.

15          31.         Amended CBA art. 40.2 requires State Defendants to “honor the terms and

16   conditions of each employee’s sign membership card.” Amended CBA art. 40.2.

17          32.         Amended CBA art. 40.6 only allows employees to revoke the card’s purported

18   authorization for a payroll deduction “in accordance with the terms and conditions of their signed

19   membership card.”

20          33.         Plaintiffs signed the dues deduction cards at a time when the CBA included a

21   compulsory agency fee provision, and the right to not fund union advocacy was not recognized

22   by the U.S. Supreme Court in Janus v. AFSCME, Council 31 on June 27, 2019.

23          34.         At the time Plaintiffs signed the cards, they had not previously clearly and

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1    affirmatively consented to the payment of union dues/fees by waiving their constitutional right to

2    not fund union advocacy.

3           35.         The dues deduction cards contain no language indicating that a First Amendment

4    right was being, or potentially being, waived.

5           36.         The dues deduction cards contain no language indicating that they operated as a

6    waiver, or potential waiver, of a First Amendment right.

7           37.         Plaintiffs and class members are paid on the 10th and the 25th day of each month.

8    Absent injunctive relief, the State will continue deducting union dues/fees from Plaintiffs’ and

9    class members’ wages on this schedule.

10          38.         WFSE drafted the dues deduction agreements, WFSE proposed the agreements as

11   take-it-or-leave-it form contracts, Plaintiffs could not bargain over the terms of the dues deduction

12   authorizations, and Plaintiffs did not seek counsel and were not advised to seek counsel. Plaintiffs

13   were not made aware, either by the language of the agreements or by WFSE or State

14   representatives, of their constitutional right to not fund union advocacy or the significance of the

15   agreement as a waiver of this right.

16          39.         Plaintiffs cannot post a substantial bond to cover the amount of union dues that

17   would be deducted from employees’ wages through the duration of preliminary injunctive relief.

18          40.         RCW 41.80.100 and Amended 2017-2019 CBA Art. 40.2, 40.3, and 40.6 authorize

19   and compel the State to deduct union dues/fees from Plaintiffs’ and class members’ wages and

20   forward them to WFSE despite the fact that Plaintiffs have not clearly and affirmatively consented

21   to the deductions by waiving the constitutional right to not fund union advocacy. The statute and

22   CBA provisions and Defendants’ actions taken pursuant to them, therefore, impermissibly

23   infringe Plaintiffs’ and class members’ First Amendment rights of free speech and free

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1    association, as secured against state infringement by the Fourteenth Amendment to the U.S.

2    Constitution.

3                                         V. CLASS ALLEGATIONS

4           41.         Plaintiffs bring this case as a class action pursuant to Federal Rules of Civil

5    Procedure 23(b)(1)(A) and (b)(2), and, alternatively, 23(b)(3), for themselves and for all others

6    similarly situated, and any subclasses deemed appropriate by this Court. The class consists of all

7    individuals: 1) who are Washington State employees exclusively represented by WFSE as

8    described in paragraph 9 above; 2) from whom the State continues to deduct union dues/fees on

9    behalf of WFSE since the U.S. Supreme Court issued Janus v. AFSCME on June 27, 2018; and

10   3) who have not clearly and affirmatively consented to dues/fees deductions by waiving the

11   constitutional right to not fund union advocacy on or after June 27, 2018. The class includes

12   everyone who comes within the class definition at any time from three years prior to the

13   commencement of this action until the conclusion of this action.

14          42.         Upon information and belief, there are hundreds, and likely thousands, of class

15   members. Their number is so numerous and in varying locations and jurisdictions across

16   Washington that joinder is impractical.

17          43.         There are questions of law and fact common to all class members, including

18   Plaintiffs. Factually, the State of Washington has continued to deduct union dues/fees from all

19   class members after Janus v. AFSCME, Council 31 issued on June 27, 2018, and each Plaintiff

20   and class member either never signed union membership or dues deduction agreement or signed

21   a union membership or dues deduction agreement at a time when the relevant collective

22   bargaining agreement included a compulsory agency fee provision, and the right to not fund union

23   advocacy was yet to be recognized by the U.S. Supreme Court in Janus v. AFSCME, Council 31

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1    on June 27, 2019. The State of Washington continues to deduct union dues/fees from Plaintiffs’

2    and class members’ wages. The question of law is the same for all class members: Do these

3    deductions violate Plaintiffs’ and class members’ First Amendment rights?

4           44.         Plaintiffs’ claims and defenses are typical of other members of the class because

5    the State is seizing union dues/fees from class members since the issuance of Janus v. AFSCME,

6    Council 31 on June 27, 2018, even though they have not clearly and affirmatively consented to

7    the deductions by waiving the constitutional right to not fund union advocacy because they either

8    never signed dues deduction agreements or signed signed dues deduction agreements at a time

9    when the relevant collective bargaining agreement included a compulsory agency fee provision,

10   and the right to not fund union advocacy was yet to be recognized by the U.S. Supreme Court in

11   Janus v. AFSCME, Council 31 on June 27, 2018. The State and SEIU have an identical duty to

12   Plaintiffs and all other class members regarding these claims.

13          45.         Plaintiffs can fairly and adequately represent the interests of the class and have no

14   conflict with other, similarly situated class members. Plaintiffs also have no interest antagonistic

15   to others who have been subjected by the State and SEIU to the aforementioned union dues/fee

16   deductions.

17          46.         Defendants’ duty to cease the aforementioned union dues/fee deductions and pay

18   back all monies deducted at least since Janus v. AFSCME, Council 31 issued on June 27, 2018

19   and, at most since each employee’s employment began, applies equally to all in the respective

20   class, and the prosecution of separate actions by individual class members would create a risk of

21   inconsistent or varying adjudications which would establish incompatible standards of conduct

22   for Defendants.

23          47.         Defendants have acted to deprive Plaintiffs and each member of the class of their

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1    constitutional rights on grounds generally applicable to all, thereby making appropriate

2    declaratory, injunctive, and other equitable relief with regard to the class as a whole.

3           48.         The Plaintiffs and class are represented by the undersigned counsel pro bono.

4    Counsel is employed by a long-established charitable organization experienced in furnishing

5    representation to unionized public and partial-public employees whose constitutional rights have

6    been violated.

7           49.         A class action can be maintained under Rule 23(b)(3) because questions of law or

8    fact common to the members of the class predominate over any questions affecting only

9    individual members, in that the important and controlling questions of law and fact are common

10   to all members of the class, i.e., whether the aforementioned dues deductions violate their First

11   Amendment rights and whether certain dues deduction agreements constitute a valid waiver of a

12   constitutional right if they are signed when the relevant collective bargaining agreement included

13   a compulsory agency fee provision and before the right to not fund union advocacy was

14   recognized by the U.S. Supreme Court in Janus v. AFSCME, Council 31 on June 27, 2019. A

15   class action is superior to other available methods for the fair and efficient adjudication of the

16   controversy, in as much as the individual class members are deprived of the same rights by

17   Defendants’ actions, differing only in the amount of money deducted which is, for legal purposes,

18   immaterial. This fact is known to the Defendants and easily calculated from Defendants’ business

19   records. The limited amount of money involved in the case of each individual’s claim (union

20   dues/fee deductions at least since Janus v. AFSCME, Council 31 issued on June 27, 2018 or at

21   most since each employee’s employment began) would make it burdensome for the class

22   members to maintain separate actions.

23          50.         A class action can be maintained under Rule 23(b)(1)(A) because separate actions

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1    by class members could risk inconsistent adjudications on the underlying legal issues.

2           51.         A class action can be maintained under Rule 23(b)(1)(B) because an adjudication

3    determining the constitutionality of union dues/fees deductions in the aforementioned

4    circumstances, as a practical matter, will be dispositive of the interests of all class members.

5           52.         The illegal actions taken by Defendants were taken pursuant to the same statutes

6    and collective bargaining agreements, and constitute a concerted scheme resulting in the violation

7    of Plaintiffs’ and class members’ rights. Additionally, the affiliation among the Defendants

8    presents an organizational structure which makes it expedient for the named Plaintiffs and

9    members of the of the class to proceed against all named Defendants.

10                                         VI. CLAIMS FOR RELIEF

11                                             CLAIM 1
                             First Amendment, through 42 U.S.C. § 1983
12           Deducting union dues/fees from Plaintiffs’ wages pursuant to RCW 41.80.100 violates
                           the First Amendment to the United States Constitution.
13
            53.         Plaintiffs incorporate by reference and re-allege herein all Paragraphs above.
14
            54.         RCW 41.80.100, on its face and as applied, violates the Plaintiffs’ First Amendment
15
     rights, as secured against state infringement by the Fourteenth Amendment and 42 U.S.C. § 1983,
16
     to not associate with a mandatory representative, and to not support, financially or otherwise,
17
     petitioning and speech, and against compelled speech, because it authorizes and compels the State
18
     to deduct union dues/fees from Plaintiffs’ and class members’ wages even though they have not
19
     clearly and affirmatively consented to the deductions by waiving their constitutional right to not
20
     fund union advocacy; and because it forces Plaintiffs and class members to maintain union
21
     membership over their objection.
22
            55.         Consent to fund union advocacy cannot be presumed and neither Plaintiffs nor class
23
     members waived their constitutional right to not fund union advocacy.
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1           56.         No compelling state interest justifies this infringement on Plaintiffs’ First

2    Amendment rights.

3           57.         RCW 41.80.100 is significantly broader than necessary to serve any possible

4    alleged government interest.

5           58.         RCW 41.80.100 is not carefully or narrowly tailored to minimize the infringement

6    of free speech rights.

7                                              CLAIM 2
                           First Amendment, through 42 U.S.C. § 1983
8            Amended 2017-2019 CBA Art. 40.2, 40.3, and 40.6 and other cited provisions of the
            CBA and the deductions of untion dues/fees from Plaintiffs’ and class members’ wages
9             pursuant thereto violate the First Amendment to the United States Constitution.

10          59.         Plaintiffs incorporate by reference and re-allege herein all Paragraphs above.

11          60.         Amended 2017-2019 CBA Art. 40.2, 40.3, and 40.6 and other cited provisions of

12   the CBA and any action thereto, on their face and as applied, violate Plaintiffs’ First Amendment

13   rights, as secured against state infringement by the Fourteenth Amendment and 42 U.S.C. § 1983,

14   to not associate with a mandatory representative, and to not support, financially or otherwise,

15   petitioning and speech, and against compelled speech, because they compel the State to deduct

16   union dues/fees from Plaintiffs’ and class members’ wages and remit them to WFSE even though

17   they have not clearly and affirmatively consented to the deductions by waiving their constitutional

18   right to not fund union advocacy; and because they force Plaintiffs and class members to maintain

19   union membership over their objection.

20          61.         Consent to fund union advocacy cannot be presumed and neither Plaintiffs nor class

21   members waived their constitutional right to not fund union advocacy.

22          62.         No compelling state interest justifies this infringement on Plaintiffs’ First

23   Amendment rights.

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1           63.         Amended 2017-2019 CBA Art. 40.2, 40.3, and 40.6 are significantly broader than

2    necessary to serve any possible alleged government interest.

3           64.         Amended 2017-2019 CBA Art. 40.2, 40.3, and 40.6 are not carefully or narrowly

4    tailored to minimize the infringement of free speech rights.

5                                               CLAIM 3
                             First Amendment, through 42 U.S.C. § 1983
6                 Deducting union dues/ fees from Plaintiffs’ and class members’ wages violates
                                      Plaintiffs’ freedom of association.
7
            65.         Plaintiffs incorporate by reference and re-allege herein all Paragraphs above.
8
            66.         RCW 41.80.100, Amended 2017-2019 CBA Art. 40.2, 40.3, and/or 40.6, other
9
     cited provisions of the CBA, and Defendants’ actions pursuant thereto violate Plaintiffs’ and class
10
     members’ First Amendment right to the freedom of association, as secured against state
11
     infringement by the Fourteenth Amendment and 42 U.S.C. § 1983.
12
            67.         Consent to fund union advocacy cannot be presumed and neither Plaintiffs nor class
13
     members waived their constitutional right to not fund union advocacy.
14
            68.         No compelling state interest justifies this infringement on Plaintiffs’ and class
15
     members’ First Amendment right to freedom of association.
16
            69.         RCW 41.80.100, Amended 2017-2019 CBA Art. 40.2, 40.3, and/or 40.6 are
17
     significantly broader than necessary to serve any possible alleged government interest.
18
            70.         RCW 41.80.100, Amended 2017-2019 CBA Art. 40.2, 40.3, and/or 40.6 are not
19
     carefully or narrowly tailored to minimize the infringement of free speech rights
20
                                                CLAIM 4
21                           First Amendment, through 42 U.S.C. § 1983
         Defendants have illegally conspired to knowingly deprive Plaintiffs and class members
22                                   of their constitutional rights.

23          71.         Plaintiffs incorporate by reference and re-allege herein all Paragraphs above.

24

     COMPLAINT
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1           72.         Defendants conspired to deprive Plaintiffs and class members of their First

2    Amendment rights by unlawfully deducting union dues/fees from Plaintiffs’ and class members’

3    wages. There was an agreement to do so and a meeting of the minds to pursue this objective and

4    Defendants took several overt acts, described above, to accomplish this objective.

5           73.         By deducting union/dues fees from Plaintiffs’ and class members’ wages in the

6    manner described herein, Defendants acted with malice and showed a reckless and outrageous

7    indifference to a highly unreasonable risk of harm and acted with a conscious indifference to the

8    rights and welfare of others, including Plaintiffs.

9                                                 CLAIM 5
                                             Unjust Enrichment
10                          Defendants’ scheme unjustly enriched Defendant WFSE.

11          74.         Plaintiffs incorporate by reference and re-allege herein all Paragraphs above.

12          75.         WFSE received a benefit in the form of 1.5% of Plaintiffs’ and class members’

13   wages pursuant to the dues exaction scheme imposed by Defendants on Plaintiffs.

14          76.         WFSE benefited at Plaintiffs’ and class members’ expense because State

15   Defendants deducted 1.5% of their wages and remitted the money to WFSE, and WFSE knew it

16   benefited from receiving Plaintiffs’ and class members’ money.

17          77.         The circumstances of Defendants’ scheme make it unjust for WFSE to retain the

18   benefit.

19                                            CLAIM 6
                            First Amendment, through 42 U.S.C. § 1983
20   Deducting union dues/fees from Plaintiffs’ pursuant to RCW 41.80.100 and the Pre-amended
             CBA art. 40 violated the First Amendment to the United States Constitution.
21
            78.         Plaintiffs incorporate by reference and re-allege herein Paragraphs above.
22
            79.         RCW 41.80.100 and Pre-amended 2017-2019 CBA Art. 40, as well as the 2015-
23
     2017 CBA Art. 40 and other cited provisions of the CBAs and any action thereto, on their face
24

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1    and as applied, violate Plaintiffs’ First Amendment rights, as secured against state infringement

2    by the Fourteenth Amendment and 42 U.S.C. § 1983, to not associate with a mandatory

3    representative, and to not support, financially or otherwise, petitioning and speech, and against

4    compelled speech, because they compelled the State to deduct union dues/fees from Plaintiffs’

5    and class members’ wages and remit them to WFSE even though they had not clearly and

6    affirmatively consented to the deductions by waiving their constitutional right to not fund union

7    advocacy; and because they forced Plaintiffs and class members to maintain union membership

8    over their objection.

9           80.         Consent to fund union advocacy cannot be presumed and neither Plaintiffs nor class

10   members waived their constitutional right to not fund union advocacy.

11          81.         No compelling state interest justifies this infringement on Plaintiffs’ First

12   Amendment rights.

13          82.         RCW 41.80.100 and Pre-amended 2017-2019 CBA Art. 40, as well as the 2015-

14   2017 CBA Art. 40 are significantly broader than necessary to serve any possible alleged

15   government interest.

16          83.         RCW 41.80.100 and Pre-amended 2017-2019 CBA Art. 40, as well as the 2015-

17   2017 CBA Art. 40 are not carefully or narrowly tailored to minimize the infringement of free

18   speech rights.

19                                        VI. PRAYER FOR RELIEF

20          84.         Plaintiffs incorporate by reference and re-allege herein all Paragraphs above.

21          85.         Plaintiffs and class members have been injured as a result of Defendants’ conduct

22   as described above by deducting union dues/fees even though Plaintiffs and class members have

23   not clearly and affirmatively consented to the deductions by waiving the constitutional right to

24

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1    not fund union advocacy. Accordingly, Plaintiffs pray for the following relief:

2           86.         Declaratory Judgment: enter a Declaratory Judgment that RCW 41.80.100,

3    Amended 2017-2019 CBA Art. 40.2, 40.3, and 40.6, and other cited provisions of the CBA on

4    their face and as applied violates the First Amendment to the United States Constitution, as

5    secured against state infringement by the Fourteenth Amendment to the United States

6    Constitution and 42 U.S.C. § 1983, because they permits and compels the State to deduct union

7    dues/fees from Plaintiffs’ and class members’ wages even though they have not clearly and

8    affirmatively consented to the deductions by waiving the constitutional right to not fund union

9    advocacy, and/or because it forces Plaintiffs and class members to maintain union membership

10   over their objection, and are unconstitutional and of no effect;

11          87.         Declaratory Judgment: enter a Declaratory Judgment that the Washington AG’s

12   policy related to the application of Janus v. AFSCME, Council 31, to WFSE-represented State

13   employees, cited herein, is unconstitutional and of no effect;

14          88.         Declaratory Judgment: enter a Declaratory Judgment that Defendants conspired

15   to deprive Plaintiffs and class members of their First Amendment rights by deducting union

16   dues/fees from their wages even though they have not clearly and affirmatively consented to the

17   deductions by waiving the constitutional right to not fund union advocacy, and/or because by

18   forcing Plaintiffs and class members to maintain union membership over their objection;

19          89.         Declaratory Judgment: enter a Declaratory Judgment that Defendants’ deduction

20   of monies from Plaintiffs’ and class members’ wages even though they have not clearly and

21   affirmatively consented to the deductions by waiving the constitutional right to not fund union

22   advocacy has been illegal and unconstitutional;

23          90.         Declaratory Judgment: enter a Declaratory Judgment that RCW 41.80.100, Pre-

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1    amended 2017-2019 CBA art. 40, and the 2015-2017 CBA art. 40, and other cited provisions of

2    the CBAs, and actions pursuant thereto, on their face and as applied, violate the First Amendment

3    to the United States Constitution, as secured against state infringement by the Fourteenth

4    Amendment to the United States Constitution and 42 U.S.C. § 1983, because they permit and

5    compel the State to deduct union dues/fees from Plaintiffs’ and class members’ wages even

6    though they have not clearly and affirmatively consented to the deductions by waiving the

7    constitutional right to not fund union advocacy, and/or because they force Plaintiffs and class

8    members to maintain union membership over their objection, and are unconstitutional and of no

9    effect

10            91.       Preliminary injunction and/or Temporary Restraining Order: issue a

11   preliminary injunction and/or temporary restraining order enjoining Defendants from engaging in

12   any activity this Court declares is illegal or likely illegal. Plaintiffs and class members are likely

13   to prevail on the merits, likely to suffer irreparable harm in the absence of preliminary injunctive

14   relief, the balance of equities tips in Plaintiffs’ and class members’ favor, and an injunction is in

15   the public interest.

16            92.       Permanent injunction: issue a permanent injunction enjoining Defendants from

17   engaging in any activity this Court declares illegal, including but not limited to, the deduction of

18   union dues/fees from Plaintiffs’ and class members’ wages, and the continuation and enforcement

19   of RCW 41.80.100, Amended 2017-2019 CBA Art. 40.2, 40.3, and 40.6, and other cited

20   provisions of the CBA, insofar as doing so is unconstitutional and of no effect.

21            93.       Compensatory Damages: enter a judgment against Defendants awarding Plaintiffs

22   and class members compensatory damages under Claims 1-6 in an amount equal to all union

23   dues/fees deducted from Plaintiffs’ and class members’ wages going back to the extent of the

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1    relevant statute of limitations or the date each Plaintiff or class member began employment,

2    whichever is more recent, as well as mental anguish damages and restitution;

3           94.         Compensatory Damages: alternatively, enter a judgment against Defendants

4    awarding Plaintiffs and class members compensatory damages under Claims 1-5 in an amount

5    equal to the union dues/fees deducted from Plaintiffs’ and class members’ wages since Janus v.

6    AFSCME, Council 31, issued on June 27, 2018, as well as mental anguish damages and

7    restitution;

8           95.         Punitive Damages: enter a judgment awarding Plaintiffs and class members

9    punitive damages against Defendants based on Claims 1-6 because their conduct, described

10   above, was and is motivated by evil motive or intent, or involves reckless or callous indifference

11   to the federal and state rights of Plaintiffs and class members.

12          96.         Costs and attorneys’ fees: award Plaintiffs their costs and reasonable attorneys’

13   fees pursuant to the Civil Rights Attorney’s Fees Award Act of 1976, 42 U.S.C. § 1988; and

14          97.         Other relief: grant Plaintiffs such other and additional relief as the Court may deem

15   just and proper.

16          Dated: August 2, 2018

17

18    By: s/ James G. Abernathy________

19         James G. Abernathy, WSBA #48801
           c/o Freedom Foundation
20         P.O. Box 552
           Olympia, WA 98507
21         p. 360.956.3482
           f. 360.352.1874
22         jabernathy@freedomfoundation.com
           Attorney for Plaintiffs
23

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     COMPLAINT
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1     By: s/ Hannah Sells____________

2           Hannah Sells, WSBA #52692
            c/o Freedom Foundation
3           P.O. Box 552
            Olympia, WA 98507
4           p. 360.956.3482
            f. 360.352.1874
5           hsells@freedomfoundation.com
            Attorney for Plaintiffs
6
         By: s/ Christi C. Goeller________
7
            Christi C. Goeller, WSBA #33625
8           c/o Freedom Foundation
            P.O. Box 552
9           Olympia, WA 98507
            p. 360.956.3482
10          f. 360.352.1874
            cgoeller@freedomfoundation.com
11          Attorney for Plaintiffs

12       By: s/ Caleb Jon Vandenbos________

13          Caleb Jon Vandenbos, WSBA #50231
            c/o Freedom Foundation
14          P.O. Box 552
            Olympia, WA 98507
15          p. 360.956.3482
            f. 360.352.1874
16          cvandenbos@freedomfoundation.com
            Attorney for Plaintiffs
17

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                    UNITED STATES DISTRICT COURT
                   WESTERN DISTRICT OF WASHINGTON
                             AT TACOMA

     MELISSA BELGAU, et al., in dividuals,
                                                        Case No. 3:18-cv-5620
                             Plaintiffs,
                                                        DECLARATION OF DONNA BYBEE
                                                        VERIFYING COMPLAINT FOR
                                                        INJUNCTIVE RELIEF,
     INSLEE, et al.,                                    DECLARATORY JUDGMENT, AND
                                                        DAMAGES - CLASS ACTION
                             Defendants.




                  DECLARATION OF DONNA BYBEE
               VERIFYING THE FOREGOING COMPLAINT

         I, Donna Bybee, pursuant to Section 1746 of the Judicial
    Code, 28 U.S.C. § 1746, declare as follows:
      1. I am a Plaintiff in the above-captio ned case. I am over the age
         of eighteen (18) and am competent to testify to the following
         facts based on my personal knowledge, to which I could and
         would competently testify if called as a witness in this matter.
         2. I have personal knowledge of myself, my activities, and my
          intentions, including those set out in the foregoing Verified
          Complaint for Injunctive Relief, Declarato ry Judgment , and
          Damages, and if called upon to testify I would competently
          testify as to the matters stated herein.
      3. I verify under penalty of perjury under the laws of the United
         States of America that the factual statements in this foregoing
         Complaint concerning myself , my activities, and my
         intentions are true and correct, and are factual statements
         concerning my employer, its activities, and its intentions.
   I declare under penalty of perjury that the foregoing is true and
   correct.
   Executed on:


                                                                                     Donna Bybee


   D ECLARATION VERIFYING CoMPLAJNT


                                      PO. Box 552, Olympia, WA 98507
                                       P: 360 .956 .3482 I F: 360.352.1874


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6
                              UNITED STATES DISTRICT COURT
7                            WESTERN DISTRICT OF WASHINGTON
                                       AT TACOMA
8
     MELISSA BELGAU, et al., individuals,
9                                                          Case No. 3:18-cv-5620
                           Plaintiffs,
10                                                         DECLARATION OF RICHARD
       v.                                                  OSTRANDER VERIFYING
11                                                         COMPLAINT FOR INJUNCTIVE
     INSLEE, et al.,                                       RELIEF, DECLARATORY
12                                                         JUDGMENT, AND DAMAGES –
                           Defendants.                     CLASS ACTION
13

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                           DECLARATION OF RICHARD OSTRANDER
17                         VERIFYING THE FOREGOING COMPLAINT

18          I, Richard Ostrander, pursuant to Section 1746 of the Judicial Code, 28 U.S.C. § 1746,

19   declare as follows:

20      1. I am a Plaintiff in the above-captioned case. I am over the age of eighteen (18) and am

21          competent to testify to the following facts based on my personal knowledge, to which I

22          could and would competently testify if called as a witness in this matter.

23      2. I have personal knowledge of myself, my activities, and my intentions, including those set

24          out in the foregoing Verified Complaint for Injunctive Relief, Declaratory Judgment, and

      DECLARATION VERIFYING COMPLAINT
                                                                                  P.O. Box 552, Olympia, WA 98507
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1           Damages, and if called upon to testify I would competently testify as to the matters stated

2           herein.

3       3. I verify under penalty of perjury under the laws of the United States of America that the

4           factual statements in this foregoing Complaint concerning myself, my activities, and my

5           intentions are true and correct, and are factual statements concerning my employer, its

6           activities, and its intentions.

7    I declare under penalty of perjury that the foregoing is true and correct.

8    Executed on: July 26, 2018.

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      DECLARATION VERIFYING COMPLAINT
                                                                                   P.O. Box 552, Olympia, WA 98507
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                          UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF WASHINGTON
                                   AT TACOMA


                                                       No. 3:18-cv-5620

                                                       DECLARATION OF MICHAEL STONE
MELISSA BELGAU, et al., individuals                    VERIFYING COMPLAINT FOR
                                                       INJUNCTIVE RELIEF,
                       Plaintiffs,                     DECLARATORY JUDGEMENT, AND
                                                       DAMAGES – CLASS ACTION
       v.

INSLEE, et al.,

                       Defendants.



                           DECLARATION OF MICHAEL STONE

       I, Michael Stone, pursuant to Section 1746 of the Judicial Code, 28 U.S.C. § 1746,

declare as follows:

       1. I am a Plaintiff in the above-captioned case. I am over the age of eighteen (18) and

            am competent to testify to the following facts based on my personal knowledge, to

            which I could and would competently testify if called as a witness in this matter.


       2. I have personal knowledge of myself, my activities, and my intentions, including



 DECLARATION OF MICHAEL STONE
                                                                                   P.O. Box 552, Olympia, WA 98507
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           those set out in the foregoing Verified Complaint for Injunctive Relief, Declaratory

           Judgment, and Damages, and if called upon to testify I would competently testify as

           to the matters stated herein.



I verify under penalty of perjury under the laws of the United States of America that the factual

statements in this foregoing Complaint concerning myself, my activities, and my intentions

are true and correct, and are factual statements concerning my employer, its activities, and

its intentions.

I declare under penalty of perjury that the foregoing is true and correct.




 DECLARATION OF MICHAEL STONE
                                                                                  P.O. Box 552, Olympia, WA 98507
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6
                              UNITED STATES DISTRICT COURT
7                            WESTERN DISTRICT OF WASHINGTON
                                       AT TACOMA
8
     MELISSA BELGAU, et al., individuals,
9                                                          Case No. 3:18-cv-5620
                           Plaintiffs,
10                                                         DECLARATION OF MIRIAM TORRES
       v.                                                  VERIFYING COMPLAINT FOR
11                                                         INJUNCTIVE RELIEF,
     INSLEE, et al.,                                       DECLARATORY JUDGMENT, AND
12                                                         DAMAGES – CLASS ACTION
                           Defendants.
13

14

15

16                           DECLARATION OF MIRIAM TORRES
                           VERIFYING THE FOREGOING COMPLAINT
17
            I, Miriam Torres, pursuant to Section 1746 of the Judicial Code, 28 U.S.C. § 1746, declare
18
     as follows:
19
        1. I am a Plaintiff in the above-captioned case. I am over the age of eighteen (18) and am
20
            competent to testify to the following facts based on my personal knowledge, to which I
21
            could and would competently testify if called as a witness in this matter.
22
        2. I have personal knowledge of myself, my activities, and my intentions, including those set
23
            out in the foregoing Verified Complaint for Injunctive Relief, Declaratory Judgment, and
24

      DECLARATION VERIFYING COMPLAINT
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1           Damages, and if called upon to testify I would competently testify as to the matters stated

2           herein.

3       3. I verify under penalty of perjury under the laws of the United States of America that the

4           factual statements in this foregoing Complaint concerning myself, my activities, and my

5           intentions are true and correct, and are factual statements concerning my employer, its

6           activities, and its intentions.

7    I declare under penalty of perjury that the foregoing is true and correct.

8    Executed on: ______July 31______, 2018.

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10                                                                ____s/ Miriam Torres_____________
                                                                                       Miriam Torres
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      DECLARATION VERIFYING COMPLAINT
                                                                                   P.O. Box 552, Olympia, WA 98507
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1                                   CERTIFICATE OF SERVICE

2           I hereby certify that on August 2, 2018, I caused this foregoing Complaint to be served
     via process server on the following:
3
     Governor Jay Inslee, Office of the Governor, 416 14th Ave. SW, Olympia, WA, 98504;
4
     David Schumacher, Director, Washington State Office of Financial Management, 302 Sid
5    Snyder Ave. SW, Olympia, WA, 98501;

6    John Weisman, Dir. of the Washington Department of Health; Cheryl Strange, Dir. of the
     Washington Department of Social and Health Services; Roger Millar, Dir. of the Washington
7    Department of Transportation; Joel Sacks, Director of the Washington State Department of
     Labor and Industries; c/o Attorney General Bob Ferguson, Office of the Attorney General, 7141
8    Cleanwater Dr. SW, PO Box 40145, Olympia, WA 98504-0145; Phone: (360) 664-4173, Fax:
     (360) 664-4170;
9
     Washington Federation of Service Employees, American Federation of State, County, and
10   Municipal Employees Council 28, AFL-CIO , 1212 Jefferson St. SE #300 Olympia, WA, 98501.

11   Dated: August 2, 2018

12
                                                     By: s/James Abernathy
13                                                   James Abernathy, WSBA #48801

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      COMPLAINT
      NO. 3:18-cv-5620                                                          P.O. Box 552, Olympia, WA 98507
                                                21                              P: 360.956.3482 | F: 360.352.1874
